UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                   -X


In The Matter Of

RICHARD E. LERNER,an attorney
admitted to practice before this Court,
                                                      SEALED ORDER TO SHOW
             Respondent,                              CAUSE WITH STATEMENT OF
                                                      CHARGES

                                                        Index No.:


                                                    -X
       The Committee on Grievances for the United States District Court for the Eastem

District of New York hereby orders Richard E. Lemer to show cause in writing, no later than

the 9th day of November 2016, why the Committee should not impose discipline on the

respondent as authorized by and specified in Rule 1.5 (Discipline of Attomeys) of the Local

Rules ofthe United States District Courts for the Southern and Eastem Districts ofNew York,

including but not limited to suspension or disbarment from practice before this Court. The

Committee hereby issues notice to the respondent in the form of the following Statement of

Charges.

                               STATEMENT OF CHARGES


                                   A. Grounds for Discipline


       Local Rule 1.5(b) provides that, upon notice and an opportunity to be heard, discipline

may be imposed by the Committee if it is found by clear and convincing evidence that:


              (5)In connection with activities in this Court, any attorney is found to
              have engaged in conduct violative of the New York State Rules of
              Professional Conduct as adopted from time to time by the Appellate
              Divisions of the State of New York. In interpreting the Code, in the
              absence of binding authority from the United States Supreme Court or
              the United States Court of Appeals for the Second Circuit, this Court, in
              the interests of comity and predictability, will give due regard to
              decisions ofthe New York Court of Appeals and other New York State
              courts, absent significant federal interests.
